Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 1 of 82




                            Exhibit 17
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 2 of 82




                                     In the Matter Of:

                     ALEKSEJ GUBAREV -v- BUZZFEED INC.
                                  0 18-mc-60528-UU, 0 17-cv-60426-UU




                                       FUSION· GPS

                                      August 30, 2018




                              30(b)(6), Attorneys Eyes Only
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 3 of 82

      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                        23

 ·1· ·BY MR. FRAY-WITZER:

 ·2· · · · Q.· ·Sure.

 ·3· · · · · · ·Outside of conversations at which your

 ·4· ·counsel was present --

 ·5· · · · A.· ·Right.

 ·6· · · · Q.· ·-- were there any conversations as to who

 ·7· ·would be the best witness to appear today as Fusion

 ·8· ·GPS 30 (b)(6)'s witness?

 ·9· · · · A.· ·No, there were not.

 10· · · · Q.· ·Can you tell me generally what Fusion GPS

 11· ·is?

 12· · · · A.· ·Sure.· I'm happy to.· Fusion GPS is a

 13· ·premium research firm.· We are a collection of former

 14· ·journalists.· Mr. Simpson and myself worked for

 15· ·roughly 15, 20 years for the Wall Street Journal.

 16· ·Thomas Catan worked for the Wall Street Journal and

 17· ·the Financial Times.

 18· · · · · · ·Mr. Felch worked for the Los Angeles Times.

 19· · · · · · ·And then we have a number of other research

 20· ·staff who have various specialized skills such as

 21· ·computer coding, we have people who are trained


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 4 of 82

      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                        24

 ·1· ·archivists, people who are experts in open source

 ·2· ·research and collection.

 ·3· · · · · · ·So what we do primarily is collect

 ·4· ·information, as I said, available in the open source,

 ·5· ·open source meaning publicly available records,

 ·6· ·filings, that sort of information.· Our typical client

 ·7· ·base are large law firms engaged in complicated

 ·8· ·disputes, companies -- large companies looking for

 ·9· ·deeper situation -- situational awareness of a matter.

 10· · · · · · ·We work with large hedge funds, ambassadors

 11· ·of private equity firms, those sorts of people.

 12· · · · Q.· ·Does the firm conduct what is typically

 13· ·referred to as opposition research for a political

 14· ·candidate?

 15· · · · A.· ·Yeah, I hear that term used a lot,

 16· ·"opposition research."· It has a certain connotation

 17· ·that I don't really think is very helpful in

 18· ·understanding our methodology.

 19· · · · · · ·That said, I'll explain that we rarely are

 20· ·involved in political -- what you would describe or

 21· ·what anyone would describe as a political matter.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 5 of 82

      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                        25

 ·1· · · · · · ·We did so in 2012 and we did so in 2016.

 ·2· ·And, again, in both those instances what we were asked

 ·3· ·to do was collect, review, digest and articulate the

 ·4· ·meaning of public records.

 ·5· · · · Q.· ·And if I understand it, I think -- and

 ·6· ·please correct me if I'm wrong -- I think your

 ·7· ·hesitation to use the phrase "opposition research" is

 ·8· ·that Fusion GPS sees itself as collecting more than

 ·9· ·just opposition as opposed to collecting, sort of, all

 10· ·information about a subject.· Is that accurate?

 11· · · · · · ·MR. LEVY:· Objection, form.

 12· · · · · · ·But go ahead.

 13· · · · · · ·THE WITNESS:· I think the -- the intention

 14· ·of my answer is -- resides more in -- in what is

 15· ·typically known as opposition research, which is

 16· ·campaign driven, which is typically a collection of

 17· ·what you call votes and quotes that are then distilled

 18· ·for purposes of a campaign; whether it's the cutting

 19· ·of ads or whether it's talking points for a candidate

 20· ·in a debate, that sort of thing.

 21· · · · · · ·What we are -- what we specialize in and our


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 6 of 82

      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                        33

 ·1· ·BY MR. FRAY-WITZER:

 ·2· · · · Q.· ·At some point in time, was Fusion engaged by

 ·3· ·a client to do research into candidate Trump?

 ·4· · · · A.· ·Yes, we were.

 ·5· · · · Q.· ·When were you engaged to do that?

 ·6· · · · · · ·MR. LEVY:· Objection to form.

 ·7· · · · · · ·Go ahead and answer.

 ·8· · · · · · ·THE WITNESS:· We were first engaged by a

 ·9· ·client to research Donald Trump, not Trump and Russia

 10· ·in, I believe it was September, 2015.

 11· ·BY MR. FRAY-WITZER:

 12· · · · Q.· ·And who was the original client that engaged

 13· ·Fusion GPS to conduct that research?

 14· · · · A.· ·It was the Washington Free Beacon.

 15· · · · Q.· ·How did that engagement come about?

 16· · · · · · ·MR. LEVY:· I'm going to instruct the witness

 17· ·not to answer that question at this time inasmuch as

 18· ·it is outside the scope -- more specifically limited

 19· ·by the Court's July 28th, 2018, order allowing

 20· ·Plaintiff to question the 30 (b)(6) non-party witness

 21· ·about any clients who may have been behind the


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 7 of 82

      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                        34

 ·1· ·December memo, and any client who is involved in the

 ·2· ·creation of the dossier as it is referred to in the

 ·3· ·subpoena.

 ·4· · · · · · ·And beyond that, the Court's order

 ·5· ·documentary 50 states that questions by other clients

 ·6· ·are outside the scope of this deposition.

 ·7· · · · · · ·MR. FRAY-WITZER:· I'm not sure that I agree

 ·8· ·with all of what you said but we'll move on for the

 ·9· ·moment, and when it becomes an issue it'll become an

 10· ·issue.

 11· ·BY MR. FRAY-WITZER:

 12· · · · Q.· ·At some point in time, did Fusion's

 13· ·engagement with the Washington Free Beacon end?

 14· · · · A.· ·Yes, it did.

 15· · · · Q.· ·And when was that?

 16· · · · A.· ·I can't recall specifically, but I believe

 17· ·it was around May of 2016, maybe April.· You should

 18· ·understand that sometimes our engagements kind of die

 19· ·a natural death and we don't have formal bookends or

 20· ·we don't memorialize the end of an engagement.

 21· · · · · · ·In this particular case the client's


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 8 of 82

      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                        35

 ·1· ·interests had dissipated with the de facto nomination

 ·2· ·of Mr. Trump as the republican candidate for

 ·3· ·president.

 ·4· · · · Q.· ·Subsequent to the engagement with the

 ·5· ·Washington Free Beacon ending, did Fusion GPS acquire

 ·6· ·a -- another client who was interested in your

 ·7· ·continuing research on candidate Trump?

 ·8· · · · · · ·MR. LEVY:· Objection to form.

 ·9· · · · · · ·THE WITNESS:· Yes, we did.

 10· ·BY MR. FRAY-WITZER:

 11· · · · Q.· ·When was that?

 12· · · · A.· ·In that same timeframe.· I think we -- I

 13· ·can't remember precisely when we signed the contract.

 14· ·It might have been April or May of 2016.

 15· · · · Q.· ·And who was the new client?

 16· · · · A.· ·Perkins Coie.

 17· · · · Q.· ·And --

 18· · · · A.· ·C-O-I-E.

 19· · · · Q.· ·Perkins Coie is a law firm.· Is that

 20· ·correct?

 21· · · · A.· ·That's right.· They're a law firm.· I think


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 9 of 82

      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                  August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                        36

 ·1· ·their headquarters is in Seattle.

 ·2· · · · Q.· ·And on whose behalf did Perkins Coie engage

 ·3· ·Fusion GPS?

 ·4· · · · A.· ·We were not told explicitly at the time.

 ·5· ·However it's pretty obvious that it was the DNC and

 ·6· ·the Hillary for America campaign.

 ·7· · · · Q.· ·What specifically was the scope of

 ·8· ·engagement from Perkins Coie?

 ·9· · · · A.· ·Very broad.· This gets back to what I was

 10· ·trying to explain to you earlier, that what we sell --

 11· ·and frankly, what we insist our clients buy is a very

 12· ·holistic and broad inquiry that can take in any number

 13· ·of subject matters.

 14· · · · · · ·So to fill that out a little bit, if you'd

 15· ·like me to?

 16· · · · Q.· ·Go ahead.

 17· · · · A.· ·An organization like a national campaign or

 18· ·major political party will have its own inhouse

 19· ·researchers to conduct a lot of that, kind of more

 20· ·sort of -- how would I call it without making it sound

 21· ·insulting?· Mundane collection, devote some quotes,


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 10 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       37

·1· ·sort of book I was describing earlier, it's a more

·2· ·specialized skill to pull things like bankruptcy

·3· ·records, to collect those and to process them and

·4· ·digest them and make them understandable by common

·5· ·persons.

·6· · · · Q.· ·I guess with respect to this particular

·7· ·engagement, to the best that you recall what was the

·8· ·scope of the engagement?· What was -- what was the

·9· ·scope of the engagement?

10· · · · · · ·MR. LEVY:· I'm going to instruct the witness

11· ·not to answer this question inasmuch as it would

12· ·implicate the attorney-client privilege, the attorney

13· ·work product doctrine.

14· · · · · · ·If you want to talk about how these matters

15· ·worked in a general manner, you can.

16· · · · · · ·MR. FRAY-WITZER:· I believe that the Court

17· ·did require answers to this kind of category of

18· ·questions with respect to what they were hired to do.

19· · · · · · ·MR. LEVY:· And I also believe that the Court

20· ·in the same order preserved the opportunity for

21· ·counsel to invoke attorney work product doctrine where


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 11 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       38

·1· ·applicable, while allowing the witness to answer

·2· ·questions that did not implicate privilege.

·3· · · · · · ·Rule 30 (c)(2) is consistent with that

·4· ·order, of course.

·5· · · · · · ·MR. FRAY-WITZER:· And just so I understand,

·6· ·which attorneys are you referring to for attorney work

·7· ·client privilege?

·8· · · · · · ·MR. LEVY:· For any lawyer at Perkins Coie

·9· ·directing and communicating with Fusion GPS during the

10· ·course of the engagement.

11· · · · · · ·MR. FRAY-WITZER:· And on what basis are you

12· ·asserting Perkins Coie's attorney-client privilege?

13· · · · · · ·MR. LEVY:· The law firm has maintained both

14· ·privileges with Fusion GPS.· It has not authorized

15· ·Fusion GPS to waive those privileges.· It has only

16· ·released Fusion GPS to disclose the name of Perkins

17· ·Coie and its underlying clients.· There's a letter in

18· ·the public record to that effect.

19· ·BY MR. FRAY-WITZER:

20· · · · Q.· ·What efforts did Fusion GPS initially

21· ·undertake in connection with the assignment from


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 12 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       39

·1· ·Perkins Coie?

·2· · · · A.· ·I'm sorry.· I don't -- I'm not sure I

·3· ·understand what you mean by efforts.

·4· · · · Q.· ·What did you actually do when you were hired

·5· ·by the Democratic National Committee, Hillary for

·6· ·American campaign through Perkins Coie?

·7· · · · A.· ·That I understood.

·8· · · · · · ·Again, it's an iteration of what I described

·9· ·earlier.· I would boil it down as Donald Trump

10· ·discussed.· We were given a very broad mandate to

11· ·follow our instincts and our leads where they led.

12· · · · · · ·Obviously we are a more specialized kind of

13· ·research firm, we used to work at the Wall Street

14· ·Journal, Candidate Trump had gone through four

15· ·bankruptcies.· That's a pile of paper.· And so we were

16· ·obviously looking at that.

17· · · · · · ·We were looking at his business trajectory

18· ·and footprint, not just in the United States or New

19· ·York but globally.

20· · · · · · ·So, is that helpful?

21· · · · Q.· ·Yes.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 13 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       40

·1· · · · · · ·I want to jump forward for a moment and

·2· ·we'll come back.· But at some point in time, did

·3· ·Fusion GPS's engagement with Perkins Coie on this

·4· ·matter end?

·5· · · · A.· ·Yes, it did.

·6· · · · Q.· ·When was that?

·7· · · · A.· ·It ended on election day, 2016, early

·8· ·November.· I think it was November 8th, 2016.

·9· · · · Q.· ·Was Fusion GPS subsequently hired to

10· ·continue the Trump research that you had been

11· ·conducting?

12· · · · A.· ·I'm not sure I understand.· Hired by Perkins

13· ·Coie?

14· · · · Q.· ·No.· Hired by anyone else?

15· · · · A.· ·Yes.

16· · · · Q.· ·When was Fusion GPS subsequently hired to

17· ·continue research?

18· · · · A.· ·I believe February or March of 2017.

19· · · · · · ·MR. LEVY:· And beyond that, I'm going to

20· ·instruct the witness not to discuss that matter

21· ·because it's limited by the Court's July 28th, 2018,


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 14 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       41

·1· ·order.

·2· ·BY MR. FRAY-WITZER:

·3· · · · Q.· ·And your counsel has anticipated my next

·4· ·question, so let me ask it anyway and then you can

·5· ·give the instruction.

·6· · · · · · ·It has been reported that Fusion GPS was

·7· ·retained by the Penn Quarter Group to continue

·8· ·research into President Trump.

·9· · · · · · ·Is that the engagement that you're referring

10· ·to?

11· · · · · · ·MR. LEVY:· I'm going to instruct the witness

12· ·not to discuss any client matters outside of what

13· ·you've already discussed --

14· ·BY MR. FRAY-WITZER:

15· · · · Q.· ·At --

16· · · · · · ·MR. LEVY:· -- consistent with the Court's

17· ·order.

18· ·BY MR. FRAY-WITZER:

19· · · · Q.· ·At the time that the -- what we have

20· ·referred to as the December memo from Christopher

21· ·Steele, a memo dated December 13th, 2017 --


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 15 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       42

·1· · · · A.· ·'16.

·2· · · · Q.· ·'16.· Thank you.

·3· · · · · · ·At the time the December memo was created,

·4· ·did Fusion GPS have a client that was paying for

·5· ·research into President Trump?

·6· · · · A.· ·No, we did not.

·7· · · · Q.· ·Can you tell me, if you know, who

·8· ·Christopher Steele is?

·9· · · · A.· ·I can and I do.

10· · · · Q.· ·And who is Mr. Steele?

11· · · · A.· ·Christopher Steele is a former employee of

12· ·the British government working for MI6 which is the

13· ·intelligence, the equivalent of our CIA in the United

14· ·Kingdom.

15· · · · · · ·He worked there for most of his career until

16· ·2009, I believe, when he and a fellow colleague

17· ·started a company in London -- based in London called

18· ·Orbis, O-R-B-I-S, Consulting.

19· · · · · · ·Christopher Steele when he left Her

20· ·Majesty's service, was not just a Russia officer at

21· ·MI6, but he was the Russia officer at MI6. He was the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 16 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       43

·1· ·boss of that desk.

·2· · · · · · ·So he was, at the time of his retirement

·3· ·from government, one of the premiere intelligence

·4· ·analysts watching Russia and the former Soviet Union

·5· ·in the NATO alliance.

·6· · · · Q.· ·And I'm sorry, when you just said at the

·7· ·time, did you mean when he retired from the service in

·8· ·2009?

·9· · · · A.· ·That's correct.

10· · · · Q.· ·How did you Fusion become aware of Mr.

11· ·Steele?

12· · · · A.· ·We were introduced to Mr. Steele in 2009, I

13· ·believe -- it might have been 2010 -- by mutual

14· ·friends in London who shared an interest in topics

15· ·related to Russia, money laundering, transnational

16· ·crime and political corruption.

17· · · · Q.· ·To whom at Fusion was the introduction made?

18· · · · A.· ·It was -- I believe it was first made to

19· ·Glenn, I -- Glenn Simpson.· I met Chris soon

20· ·thereafter, I want to say in the 2011 timeframe.

21· · · · Q.· ·Between 2009 and 2011 when you were first


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 17 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       46

·1· ·public record research on behalf of one of their

·2· ·clients.

·3· ·BY MR. FRAY-WITZER:

·4· · · · Q.· ·And had Fusion hired Orbis prior to the

·5· ·Trump investigation?

·6· · · · A.· ·I honestly don't recall.· We may have.· If

·7· ·we had, it would have been a small, limited

·8· ·engagement.· But I don't recall.

·9· · · · Q.· ·How did Fusion come to engage Mr. Steele

10· ·and/or Orbis in connection with the Trump

11· ·investigation?

12· · · · A.· ·Sure.

13· · · · · · ·As I testified earlier, we had been looking

14· ·at Mr. Trump and his business record for the better

15· ·part of eight or nine months, during which time we had

16· ·come to a couple of decisions.· One was that we were

17· ·exhausting some of the public record material,

18· ·especially as they related to Donald Trump's

19· ·engagement with Russia.· Public records aren't --

20· ·aren't easily accessed in Russia or the former Soviet

21· ·Union.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 18 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       47

·1· · · · · · ·We decided that that was a major area of

·2· ·inquiry in which we could add value.

·3· · · · · · ·So Mr. Simpson and myself decided that we

·4· ·would like to supplement our research with some more

·5· ·human inquiries.

·6· · · · · · ·We considered a number of contractors who do

·7· ·that kind of work and we decided after much discussion

·8· ·that Mr. Steele was the most highly qualified and

·9· ·reliable contractor we could hire, and so we did so.

10· · · · · · ·You have to understand, too, that in that

11· ·line of work and especially when you're dealing with

12· ·Russia and the former Soviet Union, there's a large

13· ·amount of bad information and disinformation that can

14· ·flow through to someone like a research company like

15· ·ours.· We trusted Chris to identify, sort out, sift,

16· ·disqualify that sort of information.· That is what he

17· ·spent a career at MI6 learning how to do and we knew

18· ·him to have the most robust and experienced source

19· ·network in those countries.

20· · · · Q.· ·When you say you knew him to have the most

21· ·robust source network in those countries, how did you


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 19 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       48

·1· ·know that?

·2· · · · · · ·MR. LEVY:· I'm going to instruct the witness

·3· ·to not discuss sources, their identities pursuant to

·4· ·the Court's limitation in its order of July 28, 2018.

·5· · · · · · ·Beyond that you can answer the question.

·6· · · · · · ·THE WITNESS:· We had met with Chris many

·7· ·times and we knew the quality of his information and

·8· ·his knowledge and depth of his knowledge to be

·9· ·outstanding.

10· · · · · · ·As I mentioned, he was the former head of

11· ·the Russia desk at MI6.· I don't know another

12· ·comparable source working in the private sector today.

13· ·BY MR. FRAY-WITZER:

14· · · · Q.· ·When did -- when did you engage Mr. Simpson

15· ·and/or Orbis?

16· · · · · · ·MR. LEVY:· Mr. Simpson?

17· ·BY MR. FRAY-WITZER:

18· · · · Q.· ·Mr. Steele and/or Orbis?· Thank you.

19· · · · A.· ·I believe it was in May, late May of 2016.

20· · · · Q.· ·So in late May of 2016, Mr. Steele had been

21· ·gone from MI6 for seven years.· Do you know if he had


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 20 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       49

·1· ·been back to Russia during that time period?

·2· · · · · · ·MR. LEVY:· Objection.

·3· · · · · · ·Rephrase the question.

·4· ·BY MR. FRAY-WITZER:

·5· · · · Q.· ·Do you know if Mr. Steele had traveled to

·6· ·Russia between 2009 and the time that you hired him in

·7· ·2016?

·8· · · · A.· ·I can't speak specifically of that timeframe

·9· ·that you mentioned.· At some point, and I can't recall

10· ·when, Christopher Steele's name was published online

11· ·by a rogue or a disgruntled MI6 or UK government

12· ·employee, I can't recall which.

13· · · · · · ·And so he was not able to go back to the

14· ·country for fear of his life.

15· · · · Q.· ·If Mr. Steele wasn't able to return to

16· ·Russia, how did you know that in 2016 he had a robust

17· ·source network?

18· · · · · · ·MR. LEVY:· Objection, asked and answered.

19· · · · · · ·Beyond what you've answered already, go

20· ·ahead.

21· · · · · · ·THE WITNESS:· I mean, as I mentioned, you


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 21 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       50

·1· ·know, we understood that from our conversations with

·2· ·Mr. Steele.

·3· ·BY MR. FRAY-WITZER:

·4· · · · Q.· ·Tell me about those conversations.· What did

·5· ·he tell you that made you believe that he had a robust

·6· ·source network?

·7· · · · · · ·MR. LEVY:· Again, I'm going to instruct the

·8· ·witness not to discuss the identity of sources or

·9· ·anything that would identify the sources pursuant to

10· ·the Court's limitations in its July 28th order.

11· · · · · · ·Beyond that you can answer the question.

12· · · · · · ·THE WITNESS:· Our understanding of his

13· ·source network is that he was able to communicate with

14· ·people who had access to people in extremely high

15· ·places.

16· ·BY MR. FRAY-WITZER:

17· · · · Q.· ·In hopes of limiting the need for the

18· ·objection, let me say that all of the questions that

19· ·I'm going to ask on this topic, I don't want identity

20· ·of the sources nor do I want you to tell me anything

21· ·that would lead to the identity of sources.· So that


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 22 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       51

·1· ·is always a limitation to these questions.

·2· · · · · · ·What specifically did Mr. Steele say to

·3· ·Fusion that led you to understand that he had

·4· ·connections to people who still have connections to

·5· ·people, as you put it?

·6· · · · · · ·MR. LEVY:· I'm going to repeat the

·7· ·instruction not to discuss details about sources,

·8· ·source network, anything that would identify them.

·9· · · · · · ·The witness on behalf of the company has

10· ·already testified that the company had extensive

11· ·communications with Mr. Steele about his sources and

12· ·were confident in where they were placed and the

13· ·credibility of them.

14· · · · · · ·The details of those conversations may risk

15· ·the disclosure of information about the sources that

16· ·could put them in harms way, which is precisely why

17· ·the Court limited this inquiry and I'm going to

18· ·instruct the witness not to answer that question.

19· ·BY MR. FRAY-WITZER:

20· · · · Q.· ·Did Mr. Steele specifically say to you, I

21· ·have a source network that still exists?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 23 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       52

·1· · · · A.· ·Yes.· I don't -- to amend that.· I don't

·2· ·know that he specifically used those words "I have a

·3· ·source network that still exists," but we understood

·4· ·him to have access to people with highly credible and

·5· ·reliable information.

·6· · · · Q.· ·And did that understanding come from

·7· ·anywhere other than Mr. Steele himself?

·8· · · · · · ·MR. LEVY:· Object, vague.

·9· · · · · · ·As of what point in time?

10· ·BY MR. FRAY-WITZER:

11· · · · Q.· ·The time that you were retaining Mr. Steele

12· ·in connection with the Trump investigation, was there

13· ·any other source of your understanding that Mr. Steele

14· ·continued to maintain a network other than Mr. Steele

15· ·himself?

16· · · · · · ·MR. LEVY:· Objection, vague.

17· · · · · · ·Do you want to rephrase the question?

18· · · · · · ·MR. FRAY-WITZER:· No.

19· · · · · · ·THE WITNESS:· At what time?

20· ·BY MR. FRAY-WITZER:

21· · · · Q.· ·In 2016, May of 2016 as you've identified.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 24 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       53

·1· · · · A.· ·Yes.

·2· · · · · · ·No, other than his -- his colleagues at

·3· ·Orbis.

·4· · · · Q.· ·What other colleagues at Orbis did you speak

·5· ·with or did Fusion speak with other than Mr. Steele

·6· ·himself?

·7· · · · A.· ·Christopher Burrows, B-U-R-R-O-W-S.

·8· · · · · · ·MR. LEVY:· We've been going on for about an

·9· ·hour.· Can we take a break?

10· · · · · · ·MR. FRAY-WITZER:· Yes.

11· · · · · · ·THE VIDEOGRAPHER:· Going off the record at

12· ·11:08.

13· · · · · · ·(Whereupon, a recess ensued.)

14· · · · · · ·THE VIDEOGRAPHER:· Back on the record at

15· ·11:21.

16· ·BY MR. FRAY-WITZER:

17· · · · Q.· ·So, I believe we were talking about Fusion

18· ·GPS's decision to engage Christopher Steele in

19· ·connection with the Trump investigation.· And I think

20· ·you told us some of the reasons why Fusion GPS decided

21· ·to engage Mr. Steele.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 25 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       54

·1· · · · · · ·Once the decision was made, what was the

·2· ·next step?· Who communicated with Mr. Steele?

·3· · · · · · ·MR. LEVY:· Which question do you want him to

·4· ·answer?

·5· · · · · · ·MR. FRAY-WITZER:· There's only one there.

·6· ·BY MR. FRAY-WITZER:

·7· · · · Q.· ·Who communicated with Mr. Steele?

·8· · · · A.· ·Myself and Mr. Simpson.

·9· · · · Q.· ·And was this in person?

10· · · · A.· ·Sometimes.

11· · · · Q.· ·The first contact in which you were talking

12· ·to Mr. Steele about possibly engaging him, was that in

13· ·person or how was that communication made?

14· · · · A.· ·I don't recall.· We spoke on the phone many

15· ·times but I think Glenn may have also met with him at

16· ·the beginning of the engagement in London.

17· · · · Q.· ·So as best you recall, what was said to Mr.

18· ·Steele in the first conversation that you had with him

19· ·about possibly engaging him to work on the Trump

20· ·investigation?

21· · · · · · ·MR. LEVY:· Objection, asked and answered.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 26 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       55

·1· · · · · · ·Beyond what you've already answered, you can

·2· ·answer the question.

·3· · · · · · ·THE WITNESS:· Well, as with any contractor,

·4· ·you discuss, you know, his availability and his firm's

·5· ·availability to do the work, what it would cost.· And

·6· ·can you execute the work?· Do you have the ability to

·7· ·execute the work.

·8· · · · · · ·Our -- his response in all of those

·9· ·instances, other than the cost one is affirmative --

10· ·was affirmative.· Yes, they were able to take on the

11· ·work.· Yes, he did have the ability to fulfill the

12· ·requests.· And we came to an agreement on cost.

13· · · · Q.· ·What was the agreement on cost?

14· · · · A.· ·I believe in the first instance, we expected

15· ·that this was going to be a one month, the typical

16· ·one month sort of engagement.· And I believe -- are

17· ·you asking me for the amount?

18· · · · Q.· ·Yes.

19· · · · A.· ·I believe it was for 20,000 probably pounds,

20· ·but I can't recall now.

21· · · · Q.· ·In those initial conversations, what did you


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 27 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       56

·1· ·tell Mr. Steele the assignment would be?

·2· · · · A.· ·Sure.

·3· · · · · · ·We gave him a very broad mandate.· We had in

·4· ·the course of our previous research determined that or

·5· ·learned that Mr. Trump and his family members had made

·6· ·numerous trips to Russia and the former Soviet Union

·7· ·in search of -- with the goal of consummating business

·8· ·deals of some kind, hotel deals, whatever.

·9· · · · · · ·And we wanted to know why A, he was never

10· ·able to consummate any kind of deal.· And then B,

11· ·having never consummated a deal, why he kept going

12· ·back.

13· · · · Q.· ·Do you recall anything else about the

14· ·conversations, the initial conversations with Mr.

15· ·Steele?

16· · · · A.· ·No, beyond the general observation that I

17· ·just described to you, that it seems that there was a

18· ·preponderance of Russians and Russian interests on the

19· ·part of the Trump organization in the period after his

20· ·emergence from bankruptcies and his time on The

21· ·Apprentice and selling Trump Steaks and that sort of


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 28 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       57

·1· ·thing.

·2· · · · Q.· ·Did you inform Mr. Steele who Fusion's

·3· ·client was for this engagement?

·4· · · · A.· ·No, we did not.

·5· · · · Q.· ·And let me just break that down.

·6· · · · · · ·Not just Perkins Coie, but did you inform

·7· ·Mr. Steele that Fusion had been engaged ultimately for

·8· ·the DNC or the Hillary for America campaign?

·9· · · · · · ·MR. LEVY:· Objection.

10· · · · · · ·MR. SIEGEL:· Objection.

11· · · · · · ·MR. LEVY:· Vague.· At what point in time?

12· · · · · · ·MR. FRAY-WITZER:· During the original

13· ·conversation?

14· · · · · · ·THE WITNESS:· No, we did not.

15· · · · · · ·MR. SIEGEL:· Objection.

16· · · · · · ·THE WITNESS:· Sorry.

17· · · · · · ·MR. SIEGEL:· Objection.

18· ·BY MR. FRAY-WITZER:

19· · · · Q.· ·You said that Mr. Simpson may have met with

20· ·Mr. Steele in London.· When would that have taken

21· ·place?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 29 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       63

·1· ·BY MR. FRAY-WITZER:

·2· · · · Q.· ·Did Mr. Steele come to the United States and

·3· ·meet with anyone from Fusion between May of 2016 and

·4· ·November of 2016?

·5· · · · A.· ·Yes, he did.

·6· · · · Q.· ·During those meetings, was the Trump

·7· ·investigation discussed?

·8· · · · A.· ·You mean our Trump investigation or his?

·9· · · · Q.· ·Yes.

10· · · · A.· ·Absolutely, yes.

11· · · · Q.· ·So how many meetings occurred during that

12· ·time period?

13· · · · A.· ·We recall two, but there may have been one

14· ·other.

15· · · · Q.· ·When did those two meetings occur?

16· · · · A.· ·In the summer of 2016.

17· · · · Q.· ·Who was present at each of those meetings?

18· · · · A.· ·From our company?

19· · · · Q.· ·No.· Who was present in its entirety of

20· ·these meetings?

21· · · · A.· ·Myself and Mr. Simpson.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 30 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       64

·1· · · · Q.· ·Anyone else?

·2· · · · A.· ·At one meeting, the client was present.

·3· · · · Q.· ·To the best of your recollection what was

·4· ·the content of the conversation as it related to your

·5· ·Trump investigation?

·6· · · · · · ·MR. LEVY:· I'm going to instruct the witness

·7· ·not to discuss communications with the client inasmuch

·8· ·as those conversations implicate attorney-client

·9· ·privilege and attorney work product doctrine.

10· · · · · · ·Beyond that, you can discuss what was

11· ·discussed.

12· · · · · · ·THE WITNESS:· We discussed Chris's research

13· ·and some of the findings memorialized in now what is

14· ·called the dossier, which I should clarify, was not

15· ·compiled as a dossier.· These are contemporaneous

16· ·reports that were sent to us on or about the date in

17· ·which they're marked.

18· · · · · · ·We further discussed Chris's understanding

19· ·that the information he had collected was of urgent

20· ·national security importance.· It implied peril for

21· ·the United States and its allies, specially Western


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 31 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       65

·1· ·Europe.

·2· · · · · · ·We discussed the extent to which he Felch it

·3· ·was important to alert authorities to those beliefs.

·4· · · · · · ·And by authorities, I mean government; the

·5· ·United States and the British government.

·6· ·BY MR. FRAY-WITZER:

·7· · · · Q.· ·Specifically what did Mr. Steele say about

·8· ·the extent to which he Felch it was important to alert

·9· ·authorities?

10· · · · · · ·MR. LEVY:· Asked and answered, objection.

11· · · · · · ·Go ahead beyond what -- beyond what you've

12· ·answered go ahead and answer the question.

13· · · · · · ·THE WITNESS:· I'm sorry.· Can you repeat it

14· ·so I can understand?

15· · · · · · ·MR. FRAY-WITZER:· Mind reading it back?

16· · · · · · ·(The requested portion of the record was

17· ·read.)

18· · · · · · ·THE WITNESS:· He said that based on his

19· ·experience as a senior British intelligence officer,

20· ·that this was among the most dangerous and troubling

21· ·set of reporting and findings that he has ever had


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 32 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       66

·1· ·assembled or collected in his 30 years of experience.

·2· · · · · · ·He said that this information was too

·3· ·important to not share with the relevant authorities.

·4· ·At this point in time, Donald Trump had become or was

·5· ·about to become -- I forget what the convention was --

·6· ·the republican candidate for president of the United

·7· ·States.

·8· · · · · · ·His reporting that a candidate for that

·9· ·office had been compromised by a hostile foreign power

10· ·that is our adversary on everything and by our, I mean

11· ·the Transatlantic Alliance, on everything from Syria

12· ·to Iran to North Korea to you name it was a national

13· ·emergency.

14· · · · Q.· ·And did Mr. Steele propose anything specific

15· ·that he intended to do with that information?

16· · · · A.· ·Yes.

17· · · · · · ·MR. LEVY:· At what point in time?

18· · · · · · ·MR. FRAY-WITZER:· During the discussion.

19· · · · · · ·THE WITNESS:· Well, the first discussion

20· ·that we recall immediately followed production of his

21· ·first memorandum, which I believe is dated June 20th


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 33 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       67

·1· ·of 2016.

·2· · · · · · ·Soon thereafter he informed us that he

·3· ·thought it was his duty to discuss those findings with

·4· ·the FBI and his own government.

·5· ·BY MR. FRAY-WITZER:

·6· · · · Q.· ·And what did you or Mr. Simpson say in

·7· ·response to that?

·8· · · · A.· ·We both said in the first instance we'd like

·9· ·a day to think about that, to which he said don't take

10· ·too long to think about it.· But it was also very

11· ·clear to us that we were in a force majeure sort of

12· ·situation that when a former intelligence officer of a

13· ·government says that these are people who swear their

14· ·lives to serving their country and serving their

15· ·allies as well, especially in the UK, when that person

16· ·concludes that he needs to report something that's in

17· ·that national interests, he's going to do it.

18· · · · · · ·And so he was quite determined to do that

19· ·and we as former journalists did not feel either

20· ·qualified or well placed to contradict him.

21· · · · · · ·It's really important for people to


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 34 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       68

·1· ·understand that we only know what Chris shares with

·2· ·us.· He knows much more than he shares with us.· He

·3· ·has years of experience that is highly classified that

·4· ·he will never share with or would share with anybody.

·5· · · · · · ·So in that context, when someone of that

·6· ·experience and quality and caliber and -- says to you

·7· ·that this is important, you do not disagree.

·8· · · · Q.· ·Do you know if Mr. Steele went to the FBI at

·9· ·that point in time?

10· · · · A.· ·Yes, I do.

11· · · · Q.· ·And did he do so?

12· · · · A.· ·He represented to us that he did do that in

13· ·I believe early July, around the July 4th weekend or

14· ·week whatever it was in 2016.

15· · · · Q.· ·Do you know with whom he met at the FBI?

16· · · · A.· ·Yes, I do.

17· · · · Q.· ·Who is that?

18· · · · A.· ·I believe it's an agent by the name of

19· ·Michael Gaeta.

20· · · · · · ·(The reporter requested clarification.)

21· · · · · · ·THE WITNESS:· I believe it's spelled


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 35 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       69

·1· ·G-A-E-T-A.

·2· ·BY MR. FRAY-WITZER:

·3· · · · Q.· ·Do you know the content of what Mr. Steele

·4· ·discussed with Mr. Gaeta?

·5· · · · A.· ·Yes.

·6· · · · Q.· ·And what is that?

·7· · · · A.· ·First let me back up and explain that

·8· ·relationship.

·9· · · · · · ·Chris had worked previously with Mr. Gaeta,

10· ·as I -- as we understand it, on a matter related to

11· ·corruption in the governing body of world soccer

12· ·called FIFA, which by the way, resulted in a major

13· ·indictment in the Eastern District of New York.

14· · · · · · ·Chris was super helpful in that, is my

15· ·understanding.· So he had a preexisting relationship

16· ·with Mr. Gaeta who is an agent in the, I believe the

17· ·transnational crime task force.

18· · · · · · ·So a reliable, in Chris's view,

19· ·interlocutor.

20· · · · · · ·We learned that later.· He told us that he

21· ·had the ability to do that, and we took him at his


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 36 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       70

·1· ·word and let him do that.

·2· · · · Q.· ·What was the content of the conversation

·3· ·between Mr. Steele and Mr. Gaeta?

·4· · · · A.· ·I know only in the most -- or we know, I

·5· ·should say, in the most general terms.· Because Mr.

·6· ·Gaeta as a law enforcement official, Chris would have

·7· ·been able to share information with him that he could

·8· ·not have shared with us, I believe.

·9· · · · · · ·But generally speaking, our understanding is

10· ·they discussed the findings as outlined in the first

11· ·memorandum dated June 20th, 2016.

12· · · · · · ·I don't know at what level of specificity

13· ·that was imparted.

14· · · · Q.· ·Do you know if Mr. Steele gave Mr. Gaeta a

15· ·copy of the first memorandum at that time?

16· · · · A.· ·I don't believe he did but I don't know.· My

17· ·recollection is or our recollection is, I should say,

18· ·that he showed it to him.

19· · · · Q.· ·When we started this a little while ago, you

20· ·told me that there were two meetings in person during

21· ·the summer of 2016 with Mr. Steele.· And I believe you


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 37 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       74

·1· · · · Q.· ·What is your understanding of what Mr.

·2· ·Steele did to gather the information that you were

·3· ·seeking in connection with this investigation?

·4· · · · · · ·MR. LEVY:· Objection, he's answered this

·5· ·question.

·6· · · · · · ·Secondly, I'm going to instruct the witness

·7· ·not to discuss, testify about sources, their

·8· ·identities, methods subject to the Court's limitation

·9· ·in his July 28th order.

10· ·BY MR. FRAY-WITZER:

11· · · · Q.· ·Subject to that objection, do you have an

12· ·answer?

13· · · · · · ·MR. LEVY:· I'm instructing you not to

14· ·discuss sources or their identities.

15· · · · · · ·THE WITNESS:· Sorry.· You're going to have

16· ·to repeat the question.

17· ·BY MR. FRAY-WITZER:

18· · · · Q.· ·What did you understand Mr. Steele did to

19· ·gather the information that you were seeking in

20· ·connection with the Trump investigation?

21· · · · · · ·MR. LEVY:· Same instruction.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 38 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       75

·1· · · · · · ·THE WITNESS:· I apologize.· I'm a little

·2· ·confused by this.

·3· · · · · · ·Am I able to answer?

·4· · · · · · ·MR. LEVY:· Without identifying sources,

·5· ·without saying anything that would indicate who they

·6· ·are, what they are.

·7· · · · · · ·THE WITNESS:· Chris described in general

·8· ·terms the nature of the ultimate sources, where these

·9· ·people were placed or situated, I should say.· Beyond

10· ·that, his trade craft is to not discuss sources,

11· ·methods so that even his clients cannot learn their

12· ·identity.

13· ·BY MR. FRAY-WITZER:

14· · · · Q.· ·At a high level, is it fair to say that Mr.

15· ·Steele activated a source network?

16· · · · · · ·MR. LEVY:· Objection, vague.

17· · · · · · ·What do you mean by activated?

18· ·BY MR. FRAY-WITZER:

19· · · · Q.· ·Mr. Simpson has testified in front of the

20· ·Senate and in front of the House that Mr. Steele

21· ·reached out to a source network, and I'm looking for


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 39 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       76

·1· ·your understanding of that.

·2· · · · · · ·MR. LEVY:· Objection, asked and answered.

·3· · · · · · ·THE WITNESS:· My understanding is that, yes,

·4· ·he did, but whether he quote/end quote activated it or

·5· ·whether it is a -- something of a more permanent

·6· ·structure that he and his company use on a regular

·7· ·basis, I don't know.· We don't know, I should say.

·8· ·BY MR. FRAY-WITZER:

·9· · · · Q.· ·Do you know if Mr. Steele made any payment

10· ·in connection with source information?

11· · · · A.· ·I know that he did not.

12· · · · Q.· ·And just because I want to make sure we're

13· ·speaking the same language, I'm not simply talking

14· ·about ultimate sources but rather the intermediate

15· ·source network that seems to have existed.

16· · · · · · ·Do you know if he made any payment to anyone

17· ·in connection with gathering information for this

18· ·investigation?

19· · · · · · ·MR. LEVY:· I'm going to instruct the witness

20· ·not to discuss sources pursuant to the Court's

21· ·limitation.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 40 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       77

·1· · · · · · ·MR. FRAY-WITZER:· I'm not asking for

·2· ·identity or anything that would lead to their

·3· ·identities.

·4· · · · · · ·THE WITNESS:· We don't know what Chris's

·5· ·arrangements are with what you're calling

·6· ·intermediaries.

·7· ·BY MR. FRAY-WITZER:

·8· · · · Q.· ·Is there a term that you would use for those

·9· ·people?

10· · · · A.· ·No.

11· · · · Q.· ·And just to make sure I understand, it's not

12· ·that you're saying that he did make payments or he

13· ·didn't make payments, your testimony is that you --

14· ·you don't know what his arrangements are.· Is that

15· ·correct?

16· · · · · · ·MR. LEVY:· Objection, asked and answered.

17· · · · · · ·THE WITNESS:· We don't know what his

18· ·arrangements are with people that may or may not be

19· ·intermediaries.

20· ·BY MR. FRAY-WITZER:

21· · · · Q.· ·You testified earlier that there were some


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 41 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       80

·1· ·It's just the document.

·2· · · · Q.· ·When Fusion first engaged Mr. Steele for

·3· ·this assignment, did Fusion have any conversations

·4· ·with Mr. Steele concerning the limits of human

·5· ·intelligence?

·6· · · · A.· ·I don't specifically recall, but we didn't

·7· ·have to have that conversation because we had had it

·8· ·many times previously.· Obviously humans are human and

·9· ·they have flawed memories.· So --

10· · · · Q.· ·Did you have discussions about the risks of

11· ·intentional disinformation?

12· · · · · · ·MR. LEVY:· Objection, asked and answered.

13· · · · · · ·THE WITNESS:· Yes, we did.

14· ·BY MR. FRAY-WITZER:

15· · · · Q.· ·What was the content of those discussions?

16· · · · · · ·MR. LEVY:· Objection, asked and answered.

17· · · · · · ·THE WITNESS:· We had extensive conversations

18· ·and had had extensive over -- conversations with Chris

19· ·over the years about some risks, particularly in

20· ·Russia and the FSU.

21· · · · · · ·Russia as you know is run by a former KGB


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 42 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       81

·1· ·officer.

·2· · · · Q.· ·The memos that were produced between May of

·3· ·2016 and November of 2016 have sometimes been referred

·4· ·to as the pre-election memos.

·5· · · · · · ·Are you familiar with that term?

·6· · · · A.· ·I don't know that I'm familiar with it but I

·7· ·don't dispute it.

·8· · · · Q.· ·How many pre-election memos did Mr. Steele

·9· ·produce?

10· · · · A.· ·I'd have to -- I'd have to review them to

11· ·recall exactly.

12· · · · Q.· ·Did you review the memos in preparation for

13· ·today?

14· · · · A.· ·I reviewed them carefully.· I didn't count

15· ·them.

16· · · · · · ·MR. LEVY:· If you want to put them in front

17· ·of the witness, feel free.

18· · · · · · ·MR. FRAY-WITZER:· I will at some point.

19· ·BY MR. FRAY-WITZER:

20· · · · Q.· ·When Mr. Steele transmitted a memo to

21· ·Fusion, would you typically then have a conversation


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 43 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       82

·1· ·about the content of that memo?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·So let me start with the sort of big

·4· ·picture.

·5· · · · · · ·To the extent that you recall for the

·6· ·pre-election memos --

·7· · · · A.· ·Yes.

·8· · · · Q.· ·-- tell me about those conversations that

·9· ·Fusion had with Mr. Steele about the content of the

10· ·memo?

11· · · · A.· ·Sure.

12· · · · · · ·We would discuss and I would characterize

13· ·these conversations as extensive, ongoing and daily.

14· · · · · · ·We would discuss the quality of the sourcing

15· ·behind them.

16· · · · · · ·We would discuss Chris's competence and his

17· ·team's competence and their credibility.

18· · · · · · ·We would discuss the potential for

19· ·disinformation, as you mentioned earlier.· And then of

20· ·course, we would discuss any follow up activity that

21· ·Orbis would need to conduct in terms of ongoing


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 44 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       83

·1· ·reporting.

·2· · · · · · ·We would also discuss, I should say, our own

·3· ·efforts to verify information in the memorandum.

·4· · · · Q.· ·With respect --

·5· · · · A.· ·Sorry.· Last --

·6· · · · Q.· ·Go ahead.

·7· · · · A.· ·No, my fault.

·8· · · · · · ·Last but not least in short order we

·9· ·discussed, as I mentioned earlier, Chris's belief that

10· ·this information was the equivalent of a crime in

11· ·progress and needed to be reported.

12· · · · Q.· ·Let's take that last part first.

13· · · · · · ·You told us about an initial meeting that

14· ·Mr. Steele had with Mr. Gaeta in which he described

15· ·the first of the pre-election memos.

16· · · · · · ·Are you aware of additional conversations

17· ·Mr. Steele had with the FBI concerning pre-election

18· ·memos?

19· · · · A.· ·Yes, I am.

20· · · · Q.· ·What can you tell us about those

21· ·conversations?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 45 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       84

·1· · · · A.· ·After a period of time -- I can't recall

·2· ·specifically how much time had lapsed -- but Mr.

·3· ·Steele was asked by the FBI to brief him further.

·4· · · · Q.· ·Who at the FBI asked Mr. Steele do that?

·5· · · · A.· ·Again, I believe that to be Mr. Gaeta and

·6· ·there may have been others.· I -- we don't know.

·7· · · · Q.· ·Do you know how many conversations Mr.

·8· ·Steele had with Mr. Gaeta concerning pre-election

·9· ·memos?

10· · · · A.· ·We do not.

11· · · · Q.· ·Do you know if Mr. Steele provided Mr. Gaeta

12· ·with copies of the pre-election memos?

13· · · · A.· ·We do not.· That said, it may have been

14· ·publically reported elsewhere, however we did not have

15· ·that specific knowledge or discuss it.

16· · · · · · ·Just so we're clear, when Chris is reporting

17· ·or -- to a law enforcement or government official,

18· ·that's not a conversation to which we are privy or

19· ·made privy to other than the fact of its existence.

20· · · · Q.· ·Which was actually my next question, so

21· ·thank you.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 46 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       85

·1· · · · · · ·Do you have an understanding of how many

·2· ·times Mr. Steele spoke with Mr. Gaeta concerning

·3· ·pre-election memos?

·4· · · · A.· ·We do not.

·5· · · · Q.· ·Putting aside Mr. Steele for a second, did

·6· ·anyone at Fusion have communications with the FBI

·7· ·concerning the pre-election memos?

·8· · · · A.· ·We did not.

·9· · · · Q.· ·Did anyone at Fusion have conversations with

10· ·Congress concerning the pre-election memos?

11· · · · · · ·MR. LEVY:· During the election campaign?

12· · · · · · ·Exhibit 6 is a lengthy conversation about

13· ·the pre-election memos with Congress.

14· ·BY MR. FRAY-WITZER:

15· · · · Q.· ·Prior to Mr. Simpson's testimony in front of

16· ·Congress, did Fusion have any communications with

17· ·anyone in Congress concerning the pre-election memos?

18· · · · A.· ·No, we did not.

19· · · · Q.· ·Did anyone at Fusion have communications

20· ·with the Department of Justice concerning the

21· ·pre-election memos?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 47 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       86

·1· · · · · · ·MR. LEVY:· At what time?

·2· ·BY MR. FRAY-WITZER:

·3· · · · Q.· ·At any time.

·4· · · · A.· ·At any time?

·5· · · · Q.· ·At any time.

·6· · · · A.· ·Yes.

·7· · · · Q.· ·What conversations did Fusion have with the

·8· ·Department of Justice concerning the pre-election

·9· ·memos?

10· · · · A.· ·We recall a meeting between Glenn Simpson

11· ·and Bruce Ohr, that's O-H-R, which took place at Mr.

12· ·Steele's request for the purpose of transmitting to

13· ·Mr. Ohr a copy of these pre-election memoranda.

14· · · · · · ·That would have taken place after the

15· ·election.

16· · · · Q.· ·On what date?

17· · · · A.· ·I don't recall the specific date.· I think

18· ·it was late November.

19· · · · Q.· ·And did Mr. Simpson provide Mr. Ohr with a

20· ·copy of the pre-election memo?

21· · · · A.· ·Yes.· Again, at Mr. Steele's request and for


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 48 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       87

·1· ·the purpose of reporting what Mr. Steele believed to

·2· ·be a crime to a law enforcement official, one in

·3· ·progress I should say.

·4· · · · Q.· ·You said that the provision of the

·5· ·pre-election memos to Bruce Ohr was at Mr. Steele's

·6· ·request.· What specifically did Mr. Steele say in

·7· ·connection with that request?

·8· · · · A.· ·Could you please arrange to meet with Bruce

·9· ·Ohr and give him a copy of the pre-election

10· ·memorandum.

11· · · · Q.· ·Did he say anything else?

12· · · · A.· ·No.· Other than -- and I don't know if this

13· ·was in this conversation or another -- Mr. Steele had

14· ·a longstanding relationship with Mr. Ohr.· Mr. Ohr, I

15· ·think is currently or most recently attached to

16· ·counter-narcotics efforts.

17· · · · · · ·But for many years he was involved in Russia

18· ·matters and transnational crime.

19· · · · · · ·So he was known to Mr. Steele.

20· · · · Q.· ·I believe you testified -- and, again,

21· ·correct me if I'm wrong, that one of the topics of


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 49 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      127

·1· · · · Q.· ·Do you know if McCain Institute is a

·2· ·government entity?

·3· · · · A.· ·I don't believe it is.

·4· · · · Q.· ·You said at the time Mr. Kramer made this

·5· ·trip he was not employed by the government.· Is that

·6· ·correct?

·7· · · · · · ·MR. SIEGEL:· Objection.

·8· · · · · · ·THE WITNESS:· That's my understanding.· I do

·9· ·believe that Senator McCain, however, was a United

10· ·States senator.

11· ·BY MR. FRAY-WITZER:

12· · · · Q.· ·Where do you come to your understanding of

13· ·the fact of the meeting in Halifax?

14· · · · A.· ·Mr. Steele told us about it.

15· · · · Q.· ·What did Mr. Steele tell you about having --

16· ·what did Mr. Steele tell you about Mr. Kramer?

17· · · · A.· ·So, he recounted to us in large part what I

18· ·just told you.

19· · · · · · ·He agreed, based on Sir Andrew Wood's

20· ·recommendation to meet with Mr. Kramer in London,

21· ·which he did do.· Mr. Steele then asked us -- called


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 50 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      128

·1· ·us and asked us if we knew Mr. Kramer to be a reliable

·2· ·interlocutor for purposes of reporting information to

·3· ·Senator McCain and the U.S. government.· The U.S.

·4· ·government in this case being James Comey for the

·5· ·ultimate purpose of handing information to Mr. Kramer

·6· ·which we'll get to, I presume, in a moment.

·7· · · · · · ·So thereafter -- if you'd like me to

·8· ·continue I will -- Mr. Kramer returned to the United

·9· ·States and arranged to meet with us for the expressed

10· ·purpose of delivering a copy of the memoranda, less

11· ·the December 13th memo to Mr. Kramer for the purpose

12· ·of giving it to Senator McCain with the expressed

13· ·purpose of delivering that information to James Comey

14· ·of the FBI.

15· · · · Q.· ·So as a starting point do you know why Mr.

16· ·Steele didn't simply give Mr. Kramer a copy of the

17· ·existing memos when the two met in London?

18· · · · A.· ·Yes, I do.· Chris was concerned about the

19· ·sensitive nature of the information and did not want

20· ·to have Mr. Kramer travel overseas with it.

21· · · · · · ·He also as I just mentioned to you was still


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 51 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      129

·1· ·doing, conducting some of his own due diligence on Mr.

·2· ·Kramer and wanted to complete that process before

·3· ·agreeing to give him a copy of the memorandum.

·4· · · · · · ·He wanted -- Chris wanted to be sure that

·5· ·Mr. Kramer and Senator McCain were truly interested in

·6· ·taking the information to James Comey and had the

·7· ·wherewithal to do it.

·8· · · · · · ·We concluded, he concluded, that Senator

·9· ·McCain did in fact have the ability to reach James

10· ·Comey.

11· · · · Q.· ·When Mr. Kramer returned to the United

12· ·States, did he make contact with Fusion or did Fusion

13· ·make contact with him?

14· · · · A.· ·We don't recall.

15· · · · Q.· ·And what was said in the initial

16· ·conversation?

17· · · · A.· ·It was a very ministerial conversation to

18· ·arrange an in-person meeting.

19· · · · Q.· ·Did that in-person meeting take place?

20· · · · A.· ·It did.

21· · · · Q.· ·On what date did it take place?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 52 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      130

·1· · · · A.· ·I want to say late November, early December

·2· ·timeframe.· We don't specifically recall the date.

·3· · · · Q.· ·Who was present at this in-person meeting?

·4· · · · A.· ·Mr. Kramer, Mr. Simpson and Mr. Berkowitz

·5· ·who I referenced earlier.

·6· · · · Q.· ·You were not yourself present in that

·7· ·meeting?

·8· · · · A.· ·I was not.

·9· · · · Q.· ·What was discussed at that meeting?

10· · · · A.· ·It was a -- our recollection is that it was

11· ·a relatively brief meeting, maybe a half hour.· We

12· ·told him that we'd like -- you know, we've agreed to

13· ·give you a copy of this -- of these memoranda.· We

14· ·told him that the material is obviously -- we deemed

15· ·it to be very sensitive, so did Mr. Steele.· That this

16· ·memoranda's expressed purpose was for the delivery to

17· ·Senator McCain so that he could share it with James

18· ·Comey.

19· · · · Q.· ·Was there any discussion about the need to

20· ·verify information contained in the report?

21· · · · A.· ·Our recollection is there may have been but


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 53 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      131

·1· ·that was understood because the expressed purpose of

·2· ·delivering the -- making sure that James Comey had the

·3· ·memoranda is to make sure that they would be

·4· ·investigated by competent authorities with the

·5· ·wherewithal to do it.

·6· · · · · · ·Earlier we talked about Exhibit 7, and our

·7· ·feeling at that time was that the FBI is a big

·8· ·bureaucracy and one part of the FBI might not know

·9· ·what the other is doing.

10· · · · · · ·So we wanted to make sure that the boss

11· ·understood how grave Mr. Steele thought the situation

12· ·was.

13· · · · Q.· ·And I appreciate your saying that it was

14· ·understood the information contained in the memos

15· ·needed to be verified, but what I'd really like to

16· ·know is did anyone say to David Kramer the stuff in

17· ·here, the information in here needs to be verified?

18· · · · A.· ·We don't recall those words being spoken.

19· · · · Q.· ·Was he told that the information contained

20· ·in the memos was raw information?

21· · · · A.· ·What he was told by Mr. Steele as best as we


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 54 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      132

·1· ·understand it is that these reports were highly

·2· ·credible, that they relied on reporting from the

·3· ·network we've been talking about.· That network was

·4· ·extremely well placed and had been reliable in the

·5· ·past.

·6· · · · Q.· ·Do you know if Mr. Steele told Mr. Kramer

·7· ·that some of the information contained in the memos

·8· ·was unverified?

·9· · · · A.· ·No, I don't.

10· · · · Q.· ·Do you know if anyone from Fusion told Mr.

11· ·Kramer some of the information from the memos was

12· ·unverified?

13· · · · · · ·MR. SIEGEL:· Objection.

14· · · · · · ·THE WITNESS:· What we recall is that, once

15· ·again, we described the information as highly

16· ·credible.· There's a difference between verified by

17· ·and highly credible.· There was a lot of information

18· ·in these reports that we were able to corroborate

19· ·through the open source and that others since have

20· ·been able to corroborate from the open source.

21· · · · · · ·And Mr. Kramer understood that.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 55 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      143

·1· · · · · · ·MR. SIEGEL:· Objection.

·2· · · · · · ·THE WITNESS:· No, we don't.

·3· ·BY MR. FRAY-WITZER:

·4· · · · Q.· ·Did Fusion inform any of those listed media

·5· ·outlets of Mr. Kramer's involvement?

·6· · · · A.· ·We did not.

·7· · · · Q.· ·Did Mr. Steele inform any of the media

·8· ·outlets about Mr. Kramer's involvement?

·9· · · · · · ·MR. LEVY:· Objection.

10· · · · · · ·THE WITNESS:· We don't know.

11· · · · · · ·MR. LEVY:· Are you moving an exhibit?· Can I

12· ·just take a quick break?

13· · · · · · ·MR. FRAY-WITZER:· Yeah.

14· · · · · · ·THE VIDEOGRAPHER:· Going off the record at

15· ·1423.

16· · · · · · ·(Whereupon, a recess ensued.)

17· · · · · · ·THE VIDEOGRAPHER:· Back on the record at

18· ·1426.

19· ·BY MR. FRAY-WITZER:

20· · · · Q.· ·So we've talked a bit about the pre-election

21· ·memos and I want to turn now to the -- what we've


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 56 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      144

·1· ·referred to as the December memo.· It's the memo of

·2· ·December 13th, 2016.

·3· · · · · · ·And let me ask you first, when did you first

·4· ·learn -- and in this context I mean Fusion.· When did

·5· ·Fusion first learn that there was an additional memo

·6· ·that Mr. Steele had created?

·7· · · · · · ·MR. LEVY:· Objection, vague.· When you say

·8· ·additional memo, additional to what?

·9· ·BY MR. FRAY-WITZER:

10· · · · Q.· ·Other than the -- what we've referred to as

11· ·the December memo, were there any other post election

12· ·memos prior to January 10th, 2017?

13· · · · · · ·MR. LEVY:· Objection.· Memos from whom?

14· · · · · · ·MR. FRAY-WITZER:· From Mr. Steele.

15· · · · · · ·MR. LEVY:· About what?

16· · · · · · ·MR. FRAY-WITZER:· About the Russia

17· ·investigation, about the Trump investigation.

18· · · · · · ·THE WITNESS:· I don't believe so.

19· ·BY MR. FRAY-WITZER:

20· · · · Q.· ·So post election but before January 10th,

21· ·2017, there's only one additional memo, correct?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 57 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      147

·1· ·receiving the December memo, what did Mr. Steele tell

·2· ·you, if anything, about the contents of that memo?

·3· · · · A.· ·We don't recall that he said anything

·4· ·specific other than that there's an additional memo

·5· ·coming to you.

·6· · · · Q.· ·I think you've testified that in December of

·7· ·2016, Fusion no longer had a client for this work, for

·8· ·the investigation that you were conducting, correct?

·9· · · · · · ·MR. LEVY:· Objection.· I just want to be

10· ·really precise here.· I'm objecting to form.· Can you

11· ·repeat the question, please, if there's a question?

12· · · · · · ·MR. FRAY-WITZER:· I think there was.

13· · · · · · ·Could you read it back, please?

14· · · · · · ·(Requested portion of record read.)

15· ·BY MR. FRAY-WITZER:

16· · · · Q.· ·The question is, is that correct?

17· · · · · · ·MR. LEVY:· And I'm going to object because

18· ·it's vague.

19· ·BY MR. FRAY-WITZER:

20· · · · Q.· ·In December of 2016 did Fusion GPS have a

21· ·client for whom it was working and conducting


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 58 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      148

·1· ·additional research into Donald Trump?

·2· · · · · · ·MR. LEVY:· Objection, asked and answered.

·3· · · · · · ·THE WITNESS:· No, we did not.

·4· ·BY MR. FRAY-WITZER:

·5· · · · Q.· ·Given that you did not have a client at that

·6· ·time, was Fusion surprised to learn that there was an

·7· ·additional memo coming?

·8· · · · A.· ·A little bit.· However, let me fill that in

·9· ·for you if I may.

10· · · · · · ·The context, again, is our abiding belief at

11· ·this time that the United States had elected someone

12· ·who had been compromised by the Russian government and

13· ·was colluding in some way with the Russian government

14· ·and that Russia was interfering with our electoral

15· ·process to elect this specific individual who had won.

16· · · · · · ·So there comes a point when this is not

17· ·about clients and money and dollars and cents, it's

18· ·about your national security.· That's where our head

19· ·was, that's where Chris Steele's head was.

20· · · · · · ·So if there's more information that can shed

21· ·light on that emergency or the crime in progress I've


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 59 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      149

·1· ·described, we were going to go get it and we were

·2· ·going to deliver it.

·3· · · · Q.· ·You were going to deliver it to whom?

·4· · · · A.· ·In this case, James Comey.

·5· · · · Q.· ·And how were you going to deliver this memo

·6· ·to James Comey?

·7· · · · A.· ·Through Mr. Kramer.· There were

·8· ·subsequent -- after receipt of this memo, the December

·9· ·13th memo, we contacted or he contacted us or Mr.

10· ·Steele contacted Mr. Kramer.· We don't -- we're not

11· ·clear on what the -- or we don't recollect, I should

12· ·say, what the sequence was, and arranged to give him a

13· ·copy of this memo.· Again, for the purpose of

14· ·delivering it to Senator McCain so that he could

15· ·deliver it to James Comey.

16· · · · Q.· ·I'm going to -- I'm going to back up for

17· ·just a moment.

18· · · · · · ·Did Mr. Steele tell Fusion why he was giving

19· ·this additional information to Fusion?

20· · · · A.· ·Not that we specifically recall other than

21· ·in his professional opinion and in his estimation,


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 60 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      150

·1· ·this was credible reporting that was relevant to the,

·2· ·by then, well established fact that the Russian

·3· ·government had hacked our election.

·4· · · · Q.· ·And I want to get a little specific with

·5· ·you --

·6· · · · A.· ·Sure.

·7· · · · Q.· ·-- because I believe your testimony was that

·8· ·those things were your understanding.· And what I want

·9· ·to know is did Christopher Steele say words to that

10· ·effect to you as the reason he is providing Fusion

11· ·with this additional memo?

12· · · · · · ·MR. LEVY:· Objection, asked and answered.

13· · · · · · ·THE WITNESS:· Yes.· That's my understanding.

14· ·That is our best recollection.

15· ·BY MR. FRAY-WITZER:

16· · · · Q.· ·Do you recall Mr. Steele saying words to

17· ·that effect to you personally?

18· · · · A.· ·I do.

19· · · · Q.· ·So it's your recollection as you sit here

20· ·today that you had a conversation with Mr. Steele

21· ·prior to him giving Fusion the December memo in which


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 61 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      156

·1· ·with the December memo after he provided it to you?

·2· · · · A.· ·Again, as I think I testified or I hope I

·3· ·testified, his goal in sending us this memorandum was

·4· ·to supplement our understanding of the work.· But more

·5· ·importantly to make a report or to have this

·6· ·information shared with relevant, competent government

·7· ·investigative authorities.

·8· · · · Q.· ·Did Mr. Steele ask Fusion to provide the

·9· ·December memo to David Kramer so that he might provide

10· ·it to Senator McCain?

11· · · · A.· ·Yes.

12· · · · Q.· ·Did Mr. Steele ask Fusion to provide the

13· ·December memo to anyone other than David Kramer?

14· · · · A.· ·Our recollection is that we may have also

15· ·given it to Mr. Ohr.

16· · · · Q.· ·Do you know when Fusion might have given the

17· ·memo to Mr. Ohr?

18· · · · A.· ·I don't recall that.

19· · · · Q.· ·Do you know for certain whether or not

20· ·Fusion did or did not give the memo to Mr. Ohr?

21· · · · A.· ·I'm trying to remember and I just don't


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 62 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      157

·1· ·recall.· I believe we did.

·2· · · · Q.· ·Was there a meeting with Mr. Ohr subsequent

·3· ·to the meeting that you had described earlier today?

·4· · · · A.· ·There may have been but we don't recall one.

·5· · · · Q.· ·How would Fusion have provided the memo to

·6· ·Mr. Ohr if there was no meeting?

·7· · · · A.· ·I don't think we would have.

·8· · · · Q.· ·The meeting that you described earlier was

·9· ·before December 13th, 2016.· Is that correct?

10· · · · A.· ·That's correct.

11· · · · Q.· ·And so I guess I'm confused.· If the only

12· ·way that you would have provided the document to Mr.

13· ·Ohr if you did was in a meeting and there was no

14· ·meeting after the first meeting, how would you have

15· ·provided the document to Mr. Ohr?

16· · · · A.· ·I'm sorry.· I'm just -- we're not able to

17· ·recall a subsequent meeting.· There may have been.

18· · · · Q.· ·So Fusion -- and this is fine, but Fusion

19· ·doesn't know one way or another whether or not there

20· ·was a meeting and whether or not the document was

21· ·provided to Mr. Ohr?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 63 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      158

·1· · · · · · ·MR. SIEGEL:· Objection.

·2· · · · · · ·MR. LEVY:· Asked and answered, object --

·3· ·objection.

·4· · · · · · ·THE WITNESS:· Right.

·5· ·BY MR. FRAY-WITZER:

·6· · · · Q.· ·Did --

·7· · · · A.· ·I don't dispute that if it would have been

·8· ·we would have done that.

·9· · · · Q.· ·But you don't know if you did?

10· · · · A.· ·I don't recall.

11· · · · Q.· ·Did Fusion provide the December memo either

12· ·on its own or as part of the dossier to any media

13· ·outlets?

14· · · · A.· ·The December 13th memo?

15· · · · Q.· ·Yes.

16· · · · · · ·MR. LEVY:· Before publication of the

17· ·dossier?

18· · · · · · ·MR. FRAY-WITZER:· Before January 10th, 2017.

19· · · · · · ·THE WITNESS:· No. We don't believe so.

20· ·BY MR. FRAY-WITZER:

21· · · · Q.· ·Did Fusion ask Mr. Kramer to provide copies


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 64 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      159

·1· ·of the December memo or the dossier as a whole to

·2· ·media outlets prior to January 10th, 2017?

·3· · · · A.· ·Just to be clear, you're talking about the

·4· ·December 13th memorandum?

·5· · · · Q.· ·Either on its own or as part of the

·6· ·collection of memos?

·7· · · · A.· ·No, we did not.

·8· · · · Q.· ·Other than Mr. Kramer and possibly Mr. Ohr,

·9· ·but we don't know for sure, did Fusion GPS provide a

10· ·copy of the December memo to anyone else prior to

11· ·January 10th, 2017?

12· · · · A.· ·No.

13· · · · Q.· ·How did Fusion GPS provide the December memo

14· ·to Mr. Kramer?

15· · · · A.· ·To the best of our recollection, there was a

16· ·meeting in a coffee shop, I believe, in Farragut

17· ·Square area and it was given to him at that time.

18· · · · Q.· ·Who was present at that meeting?

19· · · · A.· ·Mr. Simpson and Mr. Kramer.

20· · · · Q.· ·What did Mr. Simpson say to Mr. Kramer when

21· ·he gave him the memo?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 65 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      160

·1· · · · A.· ·This is an additional memo.

·2· · · · Q.· ·Did he specifically --

·3· · · · A.· ·From Mr. Steele.· Sorry.

·4· · · · Q.· ·Did he specifically ask Mr. Kramer to give

·5· ·the memo to Senator McCain?

·6· · · · A.· ·The understanding was that it would go to

·7· ·Senator McCain with the purpose of sharing it with Mr.

·8· ·Comey.

·9· · · · · · ·I should also say that as your exhibit, your

10· ·deposition of Mr. Kramer seems to indicate, Mr. Kramer

11· ·had his own contacts with Mr. Steele.· Which is only

12· ·to say that limits the amount of things that needed to

13· ·be said between Mr. Simpson and Mr. Kramer if I'm

14· ·making sense.

15· · · · Q.· ·You are.· But I want to actually be

16· ·specific --

17· · · · A.· ·Sure.

18· · · · Q.· ·-- to understand whether or not.

19· · · · A.· ·Yep.

20· · · · Q.· ·I understand what your testimony is.· You

21· ·testified that it was understood that Mr. Kramer was


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 66 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      170

·1· · · · Q.· ·Do you see where it says Statement of Truth:

·2· ·"The defendants believe the facts set out in the

·3· ·particulars of the claim are true."

·4· · · · · · ·Do you see that?

·5· · · · A.· ·Yes, I do.

·6· · · · Q.· ·Do you recognize Mr. Steele's signature

·7· ·under that?

·8· · · · A.· ·No, I don't.

·9· · · · Q.· ·Do you have any reason to believe that that

10· ·is not Mr. Steele's signature?

11· · · · A.· ·I don't.

12· · · · Q.· ·If you would turn to Page 3, please.

13· · · · A.· ·(Witness complies.)

14· · · · Q.· ·Paragraph 18, under a heading:· The

15· ·Confidential December Memorandum.· "Defendants

16· ·continued to receive unsolicited intelligence on the

17· ·matters covered by the pre-election memorandum after

18· ·the U.S. presidential election and the conclusion of

19· ·the assignment to Fusion."

20· · · · · · ·Did Mr. Simpson inform Fusion that the

21· ·information that he had received was unsolicited?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 67 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      171

·1· · · · · · ·MR. LEVY:· Mr. Simpson?

·2· · · · · · ·THE WITNESS:· I think you mean Mr. Steele.

·3· ·BY MR. FRAY-WITZER:

·4· · · · Q.· ·Did Mr. Steele inform Fusion that the

·5· ·information received was unsolicited?

·6· · · · A.· ·Not that we recall.

·7· · · · Q.· ·Prior to the first time that you saw Mr.

·8· ·Steele's defense in London, were you aware that the

·9· ·information received was unsolicited?

10· · · · · · ·MR. LEVY:· Objection, asked and answered.

11· · · · · · ·MR. FRAY-WITZER:· Different timeframe.

12· · · · · · ·THE WITNESS:· We were not aware of it.· As I

13· ·said earlier, I inelegantly used a metaphor from my

14· ·previous life.· Again, sometimes when you ask

15· ·questions, they're answered without them being

16· ·solicited or after an engagement has ended.

17· ·BY MR. FRAY-WITZER:

18· · · · Q.· ·Paragraph 20, "The defendants considered

19· ·correctly that the raw intelligence in the December

20· ·memo -- memorandum, A, was of considerable importance

21· ·in relation to alleged Russian interference in the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 68 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      178

·1· · · · Q.· ·Did Mr. Simpson specifically and explicitly,

·2· ·as he says, state that it was only to be provided to

·3· ·Mr. Kramer for the purpose of passing it to Senator

·4· ·McCain?

·5· · · · · · ·MR. LEVY:· Objection.

·6· · · · · · ·MR. SIEGEL:· Objection.

·7· · · · · · ·MR. LEVY:· Evan, you've got seven hours

·8· ·under the rules.

·9· · · · · · ·MR. FRAY-WITZER:· Then please let the

10· ·witness answer the question and we can get past it.

11· · · · · · ·MR. LEVY:· It's been answered.

12· · · · · · ·THE WITNESS:· The question was -- repeat it

13· ·for me.· Sorry.· I'm just getting a little tired.

14· ·BY MR. FRAY-WITZER:

15· · · · Q.· ·Mr. Steele says that he explicitly stated

16· ·that the December -- that the memoranda were only to

17· ·be provided to Mr. Kramer for the purpose of passing

18· ·them onto Senator McCain.· And I just want to know if

19· ·Fusion has a recollection of that explicit

20· ·instruction?

21· · · · · · ·MR. LEVY:· Objection, asked and answered.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 69 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      179

·1· · · · · · ·THE WITNESS:· We don't have a specific

·2· ·recollection.· However, we share this understanding.

·3· ·BY MR. FRAY-WITZER:

·4· · · · Q.· ·If you would turn to Page 8, please.

·5· · · · · · ·Mr. Simpson's -- Mr. Steele's response to

·6· ·request 18.

·7· · · · A.· ·(Witness complies.)

·8· · · · Q.· ·Mr. Steele says that the journalists that

·9· ·were briefed in September of 2016 were briefed at

10· ·Fusion's instruction.

11· · · · · · ·Did Fusion instruct Mr. Steele to brief the

12· ·journalists on the pre-election memo?

13· · · · A.· ·We don't recall a specific instruction.· But

14· ·we all agreed to do that, that that would be

15· ·worthwhile, again, for the purpose of letting the

16· ·national security reporters represented by these

17· ·outlets know that a senior former intelligence

18· ·official of an allied country thought there was a

19· ·national emergency afoot in the event that Mr. Trump

20· ·were to be elected president.

21· · · · Q.· ·On January 10th, 2017, did Fusion become


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 70 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      180

·1· ·aware that the memos written by Orbis and Christopher

·2· ·Steele had been published by BuzzFeed?

·3· · · · A.· ·Yes, we did.

·4· · · · Q.· ·How did Fusion first become aware of the

·5· ·publication?

·6· · · · A.· ·I can't specifically recall.

·7· · · · Q.· ·Do you recall how you first became aware of

·8· ·the publication?

·9· · · · A.· ·Vaguely.

10· · · · Q.· ·And how is that?

11· · · · A.· ·In the internet age and the age of Twitter

12· ·things don't stay quiet for very long.· So someone in

13· ·the office -- I don't know if it was Glenn or another

14· ·colleague said these memos had been published.

15· · · · Q.· ·To the best of your recollection, what was

16· ·Mr. Simpson's reaction to the publication of the memo?

17· · · · A.· ·We shared the same reaction, which was

18· ·disappointment, extreme disappointment.· Because

19· ·publication of these memoranda in an un-redacted

20· ·fashion could have jeopardized sources and methods

21· ·that could jeopardize, in turn, the ultimate sources


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 71 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      181

·1· ·of the information and their physical safety.· That

·2· ·was our primary concern, and overarching concern I

·3· ·would say.

·4· · · · Q.· ·What, if anything, did Fusion do on

·5· ·January 10th of 2017 when it learned that the memos

·6· ·had been published by BuzzFeed?

·7· · · · A.· ·We called, in the first instance, Ken

·8· ·Bensinger.· It was myself and Mr. Simpson as we recall

·9· ·it.· And we -- we called him because his name was on

10· ·the accompanying story and we knew him.· And we asked

11· ·him to immediately see if he could take those down

12· ·because we told him about our concerns about the

13· ·safety of sources and methods.

14· · · · Q.· ·As specifically as you can recall, what did

15· ·Fusion say to Mr. Bensinger?

16· · · · A.· ·You need to take those memos down right now.

17· · · · Q.· ·What do you recall Mr. Bensinger saying in

18· ·response?

19· · · · A.· ·I recall that he had no power to do that and

20· ·that we needed to speak to his superiors.

21· · · · Q.· ·And did you -- by you in this instance I


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 72 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      182

·1· ·mean Fusion, did Fusion subsequently speak to, as you

·2· ·put it, Mr. Bensinger's superiors at BuzzFeed?

·3· · · · A.· ·We did.· As we recall we put in a phone call

·4· ·to Ben Smith, who is the editor in chief or executive

·5· ·editor of BuzzFeed with whom we were acquainted, and

·6· ·we reiterated that same concern to him.

·7· · · · Q.· ·And what was Mr. Smith's response?

·8· · · · A.· ·He responded not unreasonably in my view and

·9· ·in retrospect, that these memoranda -- at this point

10· ·it had been reported that these memoranda had been

11· ·summarized to the tune of two pages for the sitting

12· ·president of the United States and briefed to the

13· ·president elect by James Comey.· So he argued that it

14· ·was a clear matter of public and national interest.

15· ·And I should say as the former national security

16· ·editor of the Wall Street Journal, he's not wrong

17· ·about that.· We would -- I would have made the exact

18· ·same argument.

19· · · · · · ·The narrow thing we were concerned about was

20· ·that issue of the security, physical security of

21· ·sources and method.· And we were concerned that there


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 73 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      183

·1· ·were indicia of numbers of sources, of their placement

·2· ·in Russia and outside of Russia that could have

·3· ·jeopardized their safety.

·4· · · · · · ·That's all we were thinking about.· We

·5· ·agreed that it was a matter, a vital matter of

·6· ·national and public interest.

·7· · · · Q.· ·Does Fusion know what information was

·8· ·contained in the supposed two-page summary?

·9· · · · A.· ·No, we do not.· However, I can tell you

10· ·again, I'm relying on my own experience as -- for what

11· ·that's worth of being the national security editor for

12· ·the Wall Street Journal, that a two-paged memorandum

13· ·does not reach the desk of the president of the United

14· ·States without multi-agency review, a thorough vetting

15· ·and thorough corroboration on some level.· It just

16· ·doesn't happen.

17· · · · Q.· ·Do you have any information whatsoever in

18· ·this specific instance as to what steps were taken to

19· ·create that two-paged memo and what it contained?

20· · · · · · ·MR. LEVY:· Objection, asked and answered.

21· · · · · · ·THE WITNESS:· I do not have that specific


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 74 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      242

·1· · · · A.· ·Good afternoon.

·2· · · · Q.· ·I just have a few questions for you.

·3· · · · · · ·What is the -- just because the jury is

·4· ·unlikely to be familiar with it, what is the

·5· ·Washington Free Beacon?· What is it?

·6· · · · A.· ·It's a conservative leaning publication

·7· ·based in Washington, D.C.

·8· · · · Q.· ·Okay.· And would it be fair to characterize

·9· ·it as republican leaning?

10· · · · A.· ·Yes, it would.

11· · · · Q.· ·So, would it be accurate to say that between

12· ·roughly September of 2015 and the spring of 2016,

13· ·Fusion was retained to conduct research on Donald

14· ·Trump by a republican leaning organization and that it

15· ·subsequently was retained to conduct research by the

16· ·democratic party indirectly.· Is that accurate?

17· · · · A.· ·That's correct.

18· · · · Q.· ·I mean, you -- you did research for both

19· ·sides on this one.· Is that fair -- in a sense?· Not

20· ·-- I don't mean for both sides but you were retained

21· ·by both sides at different times to conduct research?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 75 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      243

·1· · · · · · ·MR. FRAY-WITZER:· Objection.

·2· · · · · · ·THE WITNESS:· That's correct.

·3· ·BY MR. SIEGEL:

·4· · · · Q.· ·You testified that as you received the

·5· ·memoranda from Mr. Steele, that Fusion undertook its

·6· ·own efforts to try to independently assess the

·7· ·credibility of the information.· And I believe you

·8· ·testified about Carter Page, you testified about Paul

·9· ·Manafort, you testified about Alexsei Gubarev and XBT.

10· · · · · · ·Are there any other examples that you can

11· ·recall of people or topics within the dossier that

12· ·Fusion undertook to look at the credibility of those

13· ·-- of those allegations on its own?

14· · · · A.· ·Sure.

15· · · · · · ·I would say that the most prominent example

16· ·I probably overlooked is Michael Cohen who is Donald

17· ·Trump's -- or was Donald Trump's attorney, personal

18· ·attorney, and I believe worked with the Trump

19· ·Organization for many years.

20· · · · · · ·Mr. Cohen who I believe has now pled guilty

21· ·to eight felonies is accused or it is written in --


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 76 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      244

·1· ·the dossier represents that he has made deniable cash

·2· ·payments to individuals.· I believe that's

·3· ·substantially what Mr. Cohen has pled guilty to.

·4· · · · Q.· ·And did you -- at the time these memos came

·5· ·-- were coming in, did you make any efforts to look at

·6· ·Michael Cohen?

·7· · · · A.· ·We made substantial efforts to look at

·8· ·Michael Cohen.

·9· · · · Q.· ·And can you describe those?

10· · · · A.· ·Sure.

11· · · · · · ·We looked as his history, we looked at his

12· ·taxi business, we looked at his family background.

13· ·His taxi business it would appear was financed and

14· ·supported in part by Russians, Russian-Americans.

15· · · · · · ·He himself is married to someone who is

16· ·Russian.

17· · · · · · ·We looked at his background and his

18· ·relationships to people like Felix Sater with whom --

19· ·they were connected on social media.· And those were

20· ·just a few examples of many things we looked at

21· ·regarding Mr. Cohen.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 77 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      245

·1· · · · Q.· ·Did those enhance your confidence in the

·2· ·credibility of the statements in the dossier about Mr.

·3· ·Cohen?

·4· · · · A.· ·Substantially so.

·5· · · · Q.· ·Do you know who Mr. Agalarov is?

·6· · · · A.· ·I do.

·7· · · · Q.· ·Did you undertake any efforts to investigate

·8· ·the statements related to Mr. Agalarov?

·9· · · · A.· ·Yes, we did.

10· · · · Q.· ·What did you do?

11· · · · A.· ·We researched his history with Mr. Trump and

12· ·his support for the Miss Universe pageant.· We also

13· ·looked at -- just to be clear you're talking about

14· ·pre-publication?

15· · · · Q.· ·Pre-publication, yes, as the memos are

16· ·coming in?

17· · · · A.· ·We looked at his background.· We found

18· ·evidence of a substantial relationship between the

19· ·Agalarov family and Mr. Trump including a music video

20· ·cut by Aras Agalarov's son Emin in which Mr. Trump

21· ·appears.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 78 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      246

·1· · · · Q.· ·And did the research you conducted about Mr.

·2· ·Agalarov enhance your confidence level about the

·3· ·credibility of the statements made to him -- or

·4· ·connected, related to him?

·5· · · · A.· ·Yes, it did.

·6· · · · Q.· ·Do you know who Sergei Ivanov is?

·7· · · · A.· ·I do.

·8· · · · Q.· ·Did you undertake any efforts to assess

·9· ·statements related to Sergei Ivanov in the dossier?

10· · · · A.· ·Yes, we did.

11· · · · Q.· ·What did you do?

12· · · · A.· ·We read substantially about Mr. Ivanov who's

13· ·known to us.· He is the head of the presidential

14· ·administration or was.

15· · · · · · ·The dossier recounts in large, in many

16· ·instances, a story of tension between various

17· ·individuals in the Kremlin, inside the Kremlin,

18· ·specifically between a camp related to Mr. Peskov, who

19· ·is the spokesman for the Kremlin and Mr. Ivanov.· It

20· ·talks about how those tensions are coming to a head.

21· ·Subsequently we learned that Mr. Ivanov did in fact --


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 79 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      247

·1· ·was in fact let go by Mr. Putin, which was a

·2· ·surprising development to us because of their long

·3· ·history together going back to Saint Petersburg.

·4· · · · Q.· ·And did you look at all into whether there

·5· ·was a pension payment system that involved Russian --

·6· · · · A.· ·We did.

·7· · · · Q.· ·What did you find?

·8· · · · A.· ·And there is such a system and we -- in fact

·9· ·as recently as the other day, it was reported that

10· ·Sergey Kislyak the former ambassador to the United

11· ·States undertook such cash payments to people.· Mr.

12· ·Kislyak obviously is someone who had met with Michael

13· ·Flynn who is awaiting a plea agreement under -- with

14· ·Mr. Mueller and with -- Mr. Kislyak also met with

15· ·various other people in the Trump orbit including

16· ·Carter Page, including Jeff Sessions.

17· · · · Q.· ·You testified that one of the things that

18· ·you discussed with Mr. Steele was generally whether

19· ·there was a risk of disinformation when you undertake

20· ·intelligence in Russia.· What was the nature of what

21· ·Mr. Steele told you about that in relation to the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 80 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      248

·1· ·dossier?

·2· · · · A.· ·Mr. Steele -- and this is an ongoing

·3· ·conversation that would happen with the delivery of

·4· ·each memorandum -- and frankly, it goes back to our

·5· ·sort of first meeting Mr. Steele in that 2009, '10,

·6· ·'11 period.· He told us that Orbis has made its best

·7· ·efforts to ensure that the memorandum -- memoranda

·8· ·collected as the dossier is free of that sort of

·9· ·disinformation.

10· · · · · · ·It's -- he represented that he -- that is

11· ·one of the primary things that an MI6 officer working

12· ·in the FSB does.

13· · · · Q.· ·Mr. Fray-Witzer showed you today a number of

14· ·statements from other people that in one way or the

15· ·other used the word "verified", "further verified",

16· ·"unverified."· I'm not going to ask you what that

17· ·means to other people.

18· · · · · · ·What did you understand the reference to

19· ·verification meant in connection with the statements

20· ·in the dossier?

21· · · · · · ·MR. FRAY-WITZER:· Objection.· What context?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 81 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      251

·1· ·has issued a similar report that goes further and says

·2· ·that specific elements of the dossier have been

·3· ·corroborated and verified.· To me verified means

·4· ·proven.

·5· · · · Q.· ·Mr. Fray-Witzer showed you also, I think a

·6· ·statement in one of Mr. Steele's pleadings saying that

·7· ·the information -- that information in the December

·8· ·memo was not actively sought, it was unsolicited.· And

·9· ·you testified about your understanding of what that

10· ·means.

11· · · · · · ·Does that -- does the fact that information

12· ·is unsolicited mean that it is less accurate?

13· · · · A.· ·Not at all.· In this instance, Mr. Steele,

14· ·just to reiterate, is a professional.· With a

15· ·reputation and a track record of faithful service to

16· ·his country and its allies.· He would not have

17· ·forwarded to us for the purposes of putting

18· ·information before James Comey, the director of the

19· ·Federal Bureau of Investigation unless he thought that

20· ·information was reliable, credible and important.

21· · · · Q.· ·In connection with the way the reports on


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 214-20 Entered on FLSD Docket 09/21/2018 Page 82 of
                                           82
      FUSION· GPS· 30(b)(6), Attorneys Eyes Only                 August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                      258

·1· ·he was or wasn't an employee of the State of Arizona?

·2· · · · · · ·MR. FRAY-WITZER:· In 2016?

·3· ·BY MR. SIEGEL:

·4· · · · Q.· ·Yes.· In 2016?

·5· · · · A.· ·Of the State of Arizona?

·6· · · · Q.· ·Yes.

·7· · · · A.· ·I do not.

·8· · · · Q.· ·You don't know one way or the other.· Is

·9· ·that fair?

10· · · · A.· ·That's right.· I don't know one way or the

11· ·other.

12· · · · Q.· ·Did you understand Kramer to be asking as an

13· ·informal representative of Senator McCain for purposes

14· ·of his activities with the dossier?

15· · · · · · ·MR. FRAY-WITZER:· Objection.

16· · · · · · ·THE WITNESS:· We understood him to be acting

17· ·as a personal representative of Senator McCain for the

18· ·purpose of delivering these memoranda to Senator

19· ·McCain and onto James Comey of the FBI.

20· · · · · · ·MR. SIEGEL:· Give me a minute.

21· · · · · · ·THE VIDEOGRAPHER:· Going off the record at


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
